     Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 1 of 14



                                UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA

IN THE MATTER OF THE                       * CIVIL ACTION NO. 17-1545 c/w 17-2446
COMPLAINT OF TK BOAT RENTALS,              *                   and 17-3657
LLC, AS OWNER AND OPERATOR OF              *
THE M/V MISS IDA                           * JUDGE SARAH S. VANCE
                                           *
                                           * MAGISTRATE JUDGE KAREN WELLS ROBY
This document relates to Beck, et al v. TK *
Boat Rentals, LLC, et al, 17-2446          *
                                           *
* * * * * * * * * * * * * * * * * * *
   MEMORANDUM IN OPPOSITION TO MOTION FOR SUMMARY JUDGMENT
                 FILED ON BEHALF OF ANDRE D. BOUDREAU AND
                       GEICO MARINE INSURANCE COMPANY

        Cross-Claimant and defendant, Allianz Global Corporate and Specialty Marine Insurance

Company (“AGCS”), respectfully submits this opposition to the Motion for Summary Judgment

(“Motion”) filed on behalf of Andre D. Boudreau (“Boudreau”) and GEICO Marine Insurance

Company (“GMIC”) (collectively, “GEICO”).

        I. Timeline / Background

• February 12, 2017: Collison on the Mississippi River between the M/V MISS IDA, owned by
                     TK Boat Rentals, L.L.C. (“TK Boat Rentals”), and the M/V
                     SUPERSTRIKE, owned by Chase B. St. Clair (“St. Clair”). At the time,
                     Boudreau was the captain of the SUPERSTRIKE, a scheduled vessel
                     under GMIC Policy No. CBT 1008950-00 (“GMIC Policy”). Plaintiffs
                     claim to have suffered injuries during the collision (“incident”).1

• March 24, 2017:        Complaint for Damages (“Complaint”) filed on behalf of the plaintiffs,
                         naming TK Boat Rentals, Boudreau, St. Clair, GMIC, and “Troy Wetzel,
                         D/B/A Louisiana Offshore Fishing Charters, Extreme Fishing, L.L.C.”
                         AGCS, which had Policy No. 92005573 (“AGCS Policy”)2 in place
                         naming Troy Wetzel (“Wetzel”) as the insured and the M/V KINGFISH I
                         (“KINGFISH”) as the scheduled vessel, was not named in the Complaint.3
                         GMIC agreed to defend Boudreau without any reservations whatsoever.


1
  See Exhibit 1, GMIC Policy.
2
  See Exhibit 2, AGCS Policy.
3
  See Rec Doc 1.

                                                1
     Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 2 of 14



• April 19, 2017:        St. Clair and Boudreau initiated this limitation action.4

• May 2, 2017:           AGCS receives first notice of the incident / the Complaint. AGCS did not
                         have an opportunity to investigate why the KINGFISH was allegedly out
                         of service at the time of the incident before repairs had been made
                         (whether for a covered or uncovered loss) or a timely opportunity to
                         investigate the incident itself.5 (It was reported that vessel out of service
                         was the M/V KINGFISH II, scheduled under another AGCS policy, and
                         that the subject vessel was inoperable at the time of the incident due to
                         engine / transmission problem. AGCS did not learn that the actual vessel
                         out of service was the KINGFISH until later.)

• May 10, 2017:          AGCS issued a Reservation of Rights Letter to Wetzel under the AGCS
                         Policy.6

• June 14, 2017:         Undersigned counsel issued a Reservation of Rights Letter to Wetzel
                         under the AGCS Policy.7

• November 27, 2017: GEICO receives a copy of the AGCS Policy.8 Under the Federal Rules,
                     GEICO could have demanded this at the inception of the litigation.

• January 2, 2018:       First Supplemental and Amending Complaint for Damages filed on behalf
                         of the plaintiffs, naming AGCS as the insurance carrier of Wetzel and/or
                         Extreme Fishing, L.L.C.9

• February 15, 2018: Cross-Claim filed on behalf of St. Clair, Boudreau, and GMIC seeking
                     defense and indemnity from AGCS pursuant to the Temporary Substitute
                     Watercraft provision in the AGCS Policy.10 The Cross-Claim specifically
                     alleges that GMIC and AGCS are co-primary insurers.11 AGCS’ first
                     notice of Boudreau’s claim was upon service of this Cross-Claim.

• May 31, 2018:          GEICO responds to AGCS’ written discovery requests reiterating that
                         GMIC and AGCS are co-primary carriers for any negligence attributable
                         to Boudreau.12



4
   See Rec Doc 1, 17-cv-03657. This matter was transferred, Rec. Doc. No. 4, and consolidated with 17-cv-1545,
Rec. Doc. No. 5, on May 12, 2017.
5
   See Memorandum in Support of Motion for Summary Judgment (Rec Doc 192) at Exhibit E; see also Exhibit 5,
Notice of Loss / Correspondence.
6
  See Id.
7
  See Memorandum in Support of Motion for Summary Judgment (Rec Doc 192) at Exhibit G.
8
  See Rec Doc 192-7, Exhibit 7 to GEICO’s Memorandum in Support of Motion for Summary Judgment.
9
  See Rec Doc 54.
10
    See Rec Doc 79.
11
    See Id. at p. 6, ¶ 31.
12
    See Exhibit 3, GEICO’s Answers to Interrogatories at No. 14.

                                                      2
     Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 3 of 14



• July 11, 2018:          Magistrate Judge Roby rules that AGCS cannot seek discovery from
                          GEICO until the AGCS Cross-Claim is in the record.13

• August 21, 2018:        Judge Vance rules that Extreme Fishing was the bareboat charterer of the
                          SUPERSTRIKE.14

• September 5, 2018: Judge Vance grants AGCS leave to file a Cross-Claim into the record
                     against GMIC for defense and indemnity (via assignment / subrogation) of
                     / for Wetzel and Extreme Fishing. The Cross-Claim alleges coverage
                     under the GMIC Policy’s General Bareboat Charter Endorsement (that
                     Wetzel / Extreme Fishing was, in fact, the bareboat charterer).15 GMIC
                     has only today, September 18, 2018, filed a responsive pleading16 and no
                     discovery has occurred regarding this claim (per Judge Roby’s ruling to
                     wait until the claim was filed).

• September 6, 2018: Considering an insurer’s broad duty to defend in Louisiana (per the “eight
                     corners rule” looking only at the plaintiff’s First Supplemental and
                     Amending Complaint for Damages17 and the AGCS Policy), Judge Vance
                     ruled that AGCS has a duty to defend Boudreau.18 The Court did not
                     specifically address the issues of dual-coverage (although this was
                     undisputedly the only position raised by GEICO up to this ruling) or from
                     what point in time a defense by AGCS is owed (inception or notice).19
                     AGCS will seek clarification on these issues in a separate motion. Judge
                     Vance specifically recognizes the need for further information (i.e.,
                     discovery) related to the indemnity issue.20

• September 10, 2018: GMIC and on alleged behalf of Boudreau file the instant Motion for
                      Summary Judgment seeking full defense of Boudreau (for the very first
                      time – believed to be in response to AGCS’ excess argument in its
                      opposition memorandum to Boudreau’s prior Motion for Partial Summary
                      Judgment)21 and indemnity (ignoring the need for discovery on both cross-
                      claims per Judge Vance and Magistrate Judge Roby).22


13
   See Rec Doc 166.
14
   See Rec Doc 186.
15
   See Rec Doc 189.
16
   See Rec Doc 194.
17
   See Rec Doc 54.
18
   See Rec. Doc. 191. Now that AGCS’ Cross-Claim has been filed into the record and GEICO has today responded
(September 18, 2018), AGCS will be submitting a similar motion on identical grounds against GMIC for defense of
Wetzel and Extreme Fishing.
19
   Counsel for Boudreau also represents St. Clair and GMIC, to whom / which no defense is owed. Further,
Boudreau is only entitled to defense on a co-primary basis in accordance with GEICO’s Cross-Claim. He is not
entitled to amounts associated with seeking coverage, etc., and should only be provided with defense from notice of
his claim (service of GEICO’s Cross-Claim).
20
   See Id.
21
   See Rec Doc 142 (June 12, 2018).
22
   See Rec Doc 192.

                                                        3
     Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 4 of 14



        II. GEICO has judicially admitted primary coverage.

        From inception of this litigation, GMIC has fully assumed Boudreau’s defense without

any reservations whatsoever (formal or informal). Approximately one year after the litigation

was initiated, GEICO filed its Cross-Claim against AGCS.23            In Paragraph 31, GEICO

unequivocally stated that “[b]oth the GMIC and AGCS Policies provide primary coverage to

Andre D. Boudreau for the February 12, 2017 incident involving M/V SUPER STRIKE.”24

GEICO has never sought to amend this judicial admission under the Federal Rules and this

Court’s amendment to pleading deadlines have twice since passed. Further, in GEICO’s written

discovery responses dated May 31, 2018, it elaborated on its co-primary allegation as follows:

        INTERROGATORY NO. 14:

        Please identify all evidence supporting the alleged losses claimed by you.

        ANSWER TO INTERROGATORY NO. 14:

        The GEICO Marine and AGCS policies provide co-primary coverage for
        Andre Boudreau operating M/V SUPER STRIKE on February 12th on a 50-
        50 basis. Therefore, any AGCS is liable for 50% of any and all damages
        attributable to the negligence of Andre Boudreau. This includes the damages
        alleged by the Claimants for personal injuries, the $82,500 GEICO Marine paid
        Chase St. Clair for the loss of M/V SUPER STRIKE, and GEICO Marine’s costs
        and expenses in defending Andre Boudreau from the date it retained the
        undersigned.25

GMIC cannot therefore claim that it is anything less than a co-primary carrier in connection with

any negligence (while disputed) that may be assessed against Boudreau.

        III. GEICO has waived any coverage defenses and is in conflict with Boudreau.

        GMIC was aware of the terms of its own policy (and the AGCS Policy) prior to filing the

Cross-Claim in February 2018. In fact, the law provides that GMIC, as an insurer, is charged


23
   See Rec Doc 79.
24
   Id (emphasis added).
25
   Exhibit 3 at Answer to Interrogatory No. 14 (emphasis added).

                                                        4
     Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 5 of 14



with knowledge of the contents of its own policy.26 Further, when an insurer like GMIC has

notice of facts that would cause it to inquire further, it has a duty to investigate those facts. In

failing to do so, as is the case here, the insurer [GMIC] “waives all powers or privileges which a

reasonable search would have uncovered.”27

        An example of an insurer’s waiver of coverage defenses is illustrated in Steptore v.

MASCO Construction Co., Inc.28 In Stepcore, the Louisiana Supreme Court held that an insurer like

GMIC waives its right to assert a coverage defense by assuming and continuing the defense of its

insured despite facts indicating that it had a right to deny coverage for an accident.29 In so holding,

the Court explained that “[w]aiver principles are applied stringently to uphold the prohibition

against conflicts of interest between the insurer and the insured which could potentially affect

legal representation in order to reinforce the role of the lawyer as the loyal advocate of the

client’s interest.”30 The Court further explained:

        [the insurer] did not reserve its right to deny coverage under the policy prior to
        assuming the defense of [the insured]. Nor did [the insurer] provide [the insured]
        separate counsel in order to avoid a potential conflict of interest. Accordingly,
        because the insurer assumed the defense without reserving its rights or otherwise
        protecting its interests and continued to represent the insured when its own interests
        were adverse to the insured, we find that [the insurer] waived any coverage defense
        it may have had under the policy.

        In this case, GMIC undertook to provide coverage for Boudreau at the inception of this

litigation. Like the insurer in Steptore, GEICO (1) did not reserve its right to deny coverage

under the GMIC Policy prior to assuming the defense of Boudreau, and (2) did not provide

Boudreau with separate counsel in order to avoid a potential conflict in interest (as AGCS did

based on its reservations of rights). The result of GMIC’s failures is the same as that stated by

26
   Steptore v. Masco Constr. Co., 93-2064 (La. 8/18/94), 643 So.2d 1213, 1216.
27
   Id.
28
   Civil Action 93-C-2064 (La. 8/18/94).
29
   See Id.
30
   Id at 1216 (emphasis added).

                                                        5
     Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 6 of 14



the Louisiana Supreme Court in Steptore: “because [GMIC] assumed the defense [of Boudreau]

without reserving its rights or otherwise protecting its interests and continued to represent

[Boudreau] when its own interests were adverse to [Boudreau] . . . [GMIC] waived any coverage

defense it may have had under the [GMIC] policy.”31

        GEICO’s brand new position on cover (that it provides only excess insurance to

Boudreau) is a dramatic departure from its prior admissions / allegations (see above) and is not

only inconsistent with the AGCS Policy and GMIC Policy language, but also creates a conflict of

interest between Boudreau and GMIC, who / which are represented by the same counsel in this

litigation. GMIC is now trying to limit cover under its policy despite (again) never having

reserved any rights while providing for Boudreau’s defense all along. Limiting coverage to

Boudreau in any respect that has never before been in dispute is obviously not in his best interest.

This creates a fiduciary duty (legal and ethical) for GMIC to immediately withdraw its dual

representation of itself and Boudreau, as their interests are no longer identical.

        IV. The AGCS Policy is not ambiguous.

        GEICO’s claims, on alleged behalf of Boudreau for coverage and full defense, are not

only moot (i.e., waived), but they also fail in their reliance upon unsupported, contradictory, and

unreasonable interpretations of the AGCS Policy.32 Specifically, the Other Insurance Clause of

the AGCS Policy provides that “[i]f, at the time of a covered loss or damage, there is any other

insurance that would apply to the property in the absence of this policy, the insurance under this

policy will apply only as excess insurance over the other insurance.”33 GEICO claims that the

word “property” is ambiguous and restricts this to exclude temporary substitute watercrafts


31
   Id.
32
    See Exhibit 1 and Exhibit 4 (excerpts of the applicable AGCS Policy and GEICO Policy provisions, with
comments).
33
   Id.

                                                   6
     Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 7 of 14



covered by other insurance. The end result of this argument is GEICO’s claim that “property,”

as used throughout the AGCS Policy, means only the KINGFISH (the scheduled vessel) and not

vessels that are temporarily substituted in its place (i.e., meaning temporary substitute vessels

have more cover under the AGCS Policy than the actual scheduled vessel). This is a totally

unreasonable interpretation and is inconsistent with the law.

         Undefined terms “must be given their ordinary, generally-accepted meanings.”34 In In re

Katrina Canal Breaches Consol. Litig.,35 this Court noted the following:

         An insurance policy is an agreement between the parties and should be interpreted
         by using ordinary contract principles. The judicial responsibility in interpreting
         insurance contracts is to determine the parties’ common intent. If the language
         in an insurance contract is clear and explicit, no further interpretation may be
         made in search of the parties’ intent. The court should not strain to find
         ambiguity where none exists. However, if there is ambiguity in an insurance
         policy, it must be resolved by construing the policy as a whole; one policy
         provision is not to be construed separately at the expense of disregarding
         other policy provisions. Ambiguity will also be resolved by ascertaining how a
         reasonable insurance policy purchaser would construe the clause at the time the
         insurance contract was entered. Cadwallader, the Supreme Court of the State of
         Louisiana set forth succinctly the most important guiding principles:

         Words and phrases used in an insurance policy are to be construed using
         their plain, ordinary and generally prevailing meaning, unless the words
         have acquired a technical meaning. An insurance contract should not be
         interpreted in an unreasonable or strained manner under the guise of
         contractual interpretation to enlarge or to restrict its provisions beyond what
         is reasonably contemplated by unambiguous terms or achieve an absurd
         conclusion. The rules of construction do not authorize a perversion of the words
         or the exercise of inventive powers to create an ambiguity where none exists or
         the making of a new contract when the terms express with sufficient clearness the
         parties’ intent.36

GEICO’s interpretation of the word “property” in the AGCS Policy fails under this standard.




34
   See Rec. Doc. 192-1, p. 11, citing Mangerchine v. Reaves, 63 So.2d 1049, 1056 (La. App. 1 st Cir. 3/25/11).
35
   2009 U.S. Dist. LEXIS 46371, at *260-61 (E.D. La. May 29, 2009).
36
   Id (bold emphasis added) (internal citations omitted).

                                                          7
       Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 8 of 14



          Merriam-Webster defines property as: “something owned or possessed.” The terms of

the AGCS Policy support this generally-accepted use of the word. In fact, the word “property”

is contained in the definition section of the AGCS policy within the term “property damage:”

          10. Property Damage means physical injury to, destruction of, or loss of use of
          tangible property.

GEICO conveniently fails to mention this definition of “property” in its Motion.                     Instead,

GEICO claims that “property” is limited to one specific piece of property, the KINGFISH (not

the SUPERSTRIKE). Accepting GEICO’s definition, however, would mean that “property

damage,” as used throughout the AGCS Policy, only refers to damage to the KINGFISH and not

other tangible things (contrary to the policy terms).

          The Temporary Substitute Watercraft provision “covers damages for bodily injury or

property damage arising from the maintenance, use or control of a temporary substitute

Watercraft.”       Using GEICO’s definition, this provision would only cover damage to the

KINGFISH, even when the KINGFISH is out of service.                          This interpretation is circular,

nonsensical, and a prohibited attempt to restrict the AGCS Policy provisions “beyond what is

reasonably contemplated by unambiguous terms.”37 Accordingly, GEICO’s claim that the Other

Insurance Clause excludes temporary substitute watercrafts covered elsewhere fails.

          V. AGCS was not provided with timely notice of the loss and further discovery is
             otherwise required regarding the applicability of the Temporary Substitute
             Watercraft provision.

          GEICO’s second attempt to craft ambiguity and evade the clear terms of the AGCS

policy is likewise unavailing. Louisiana law is clear that timely notice may be a condition

precedent to coverage. As explained by the Fifth Circuit Court of Appeal, “Louisiana law

enforces provisions of insurance contracts which require notice as a condition precedent without


37
     In Re Katrina, 2009 U.S. Dist. LEXIS 46371, at *260-61 (E.D. La. May 29, 2009).

                                                         8
     Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 9 of 14



also requiring the insurer to make a particular showing of prejudice.”38                       For example, in

Bridgefield Cas. Ins. Co. v. River Oaks Mgmt.,39 the Fifth Circuit held that coverage was

excluded when the policy plainly stated that “coverage will not be afforded . . . unless we are

notified within thirty days.”40 Like the policy in Bridgefield, the AGCS Policy in this case

explicitly requires that the broker for AGCS be provided with notice of loss “within forty-eight

hours after arrival in port . . . and in no event will any claim be admitted by this company

unless such notice in writing has been presented within sixty days from the occurrence of

same.”41 The terms further provide that AGCS does not have a duty “to provide coverage unless

there has been full compliance” with this notice provision.42

        AGCS was not notified that the KINGFISH (originally reported as the M/V KINGFISH

II) was out of use on February 12, 2017 (originally reported as being taken out of use the day

before based on a transmission issue), or of the collision at issue, until May 2, 2017. By that

time, the KINGFISH had long been repaired and AGCS did not have an opportunity to inspect

the vessel to directly determine whether it was or was not out of normal use because of an

alleged covered loss under the Temporary Substitute Watercraft provision in the AGCS Policy.

Such notice provided approximately three months after the incident does not comply with the

notice terms of the AGCS Policy. Moreover, AGCS was not notified of Boudreau’s claim

under the AGCS policy until Boudreau filed his Cross-Claim approximately one year after


38
   MGIC Indem. Corp. v. Cent. Bank of Monroe, La., 838 F.2d 1382, 1386 (5th Cir. 1988); see also, e.g., In re
Settoon Towing, L.L.C., 720 F.3d 268, 277 (5th Cir. 2013) (holding that where policy holder is a sophisticated
business and “immediate notice is an express condition precedent to coverage in the main body of the policy, failure
to comply with the provision precludes coverage and prejudice need not enter the calculation” (quoting Joslyn Mfg.
Co. v. Liberty Mut. Ins. Co., 30 F.3d 630, 633-34 (5th Cir. 1994) (internal quotation marks omitted)).
39
   590 F. App'x 308, 313 (5th Cir. 2014).
40
    Settoon Towing, 720 F.3d at 278 (holding that precise phrase “condition precedent” is not necessary where
language clearly establishes that notice is a condition precedent to recovery and the insured is a sophisticated
business).
41
   Id (emphasis added).
42
   Id (emphasis added).

                                                         9
       Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 10 of 14



the incident, well beyond the time for such notice to be provided (and more than sixty days after

receiving the AGCS Policy, which could have been demanded under the Federal Rules long

before).43

           GEICO does not dispute that notice of Boudreau’s claim was untimely. Yet GEICO

seeks to evade the notice provision by making the inexplicable argument that Boudreau is an

“insured” under the AGCS Policy, but not an “insured” bound by the notice provision. GEICO

does not attempt to reconcile these inconsistencies.       Instead, GEICO claims that the word

“insured” is ambiguous depending upon if “the” or “an” or nothing appears before it. But a clear

review of the policy reveals that “the” and “an” are used as mere articles to reference (not

modify) the defined term “insured.”

           The AGCS Policy’s notice provision unambiguously provides that coverage is not owed

to an insured if notice of a claim is not timely provided. Accordingly, if Boudreau is an

“insured” as alleged, which is subject to additional discovery on point (Temporary Substitute

Watercraft provision, etc. – including possible experts as to why the KINGFISH was out of

service and policy interpretation), his claim for coverage fails because it was undisputedly

untimely. The applicable timeline is as follows:

           • February 12, 2017: Incident

           • May 2, 2017: First Notice of Claim to AGCS (Wetzel, not Boudreau) (AGCS did not
             have a chance to inspect the KINGFISH prior to repairs – reported as an engine /
             transmission problem - to determine why it was out of service at the time of the
             incident – i.e., whether the condition was a covered loss under the Temporary
             Substitute Watercraft provision)

           • November 27, 2017: GEICO receives AGCS Policy (but could / should have demanded
             much earlier)

           • February 15, 2018: GEICO files its Cross-Claim (served thereafter)


43
     See Rec. Doc 117.

                                                  10
     Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 11 of 14



        VI. Any alleged coverage to Boudreau under the AGCS Policy is excess.

        In Louisiana, “[a]n excess insurance policy provides coverage that begins only after a

predetermined amount of primary coverage is exhausted.”44 In this case, GMIC is admittedly

Boudreau’s primary insurer. Section O entitled “Other Insurance” in the ACGS Policy provides:

“[i]f, at the time of a covered loss or damage, there is any other insurance that would apply to the

property in absence of this policy, the insurance under this policy will apply only as excess

insurance over the other insurance.”45 This Section applies “to all coverage provided by this

policy,” which includes alleged coverage afforded by the Temporary Substitute Watercraft

provision.46

        On the other hand, the GEICO Policy’s “Other Insurance” clause is not nearly as

definitive as the AGCS Policy. The GEICO Policy requires that “when this policy and any other

policy covers on the same basis, either excess or primary, we will pay only our share.”47 The

GEICO Policy therefore contemplates a sharing of responsibility for coverage where two

primary policies equally provide coverage for an insured. Even if AGCS is found to be an

insurer of Boudreau, the AGCS Policy would be in excess of the GEICO Policy, as the AGCS

Policy provisions clearly and definitively require. Further, even if notice had been timely and

the Temporary Substitute Watercraft provision was triggered, which AGCS disputes at this time

(for reasons addressed herein, those requiring discovery, and that will be addressed in further

motion practice), insurance under the GEICO Policy would first have to be exhausted before

AGCS would owe any defense to Boudreau. Accordingly, as GEICO has admitted to the



44
   Easton v. Chevron Indus., Inc., 602 So. 2d 1032, 1041 (La. Ct. App. 4 Cir. 5/28/1992), writ denied, 604 So. 2d
1315 (La. 1992), and writ denied, 604 So. 2d 1318 (La. 1992) (quoting Lumbermens Mut. Casualty Co. v.
Connecticut Fire Ins. Co., 239 So. 2d 472, 474 (La. Ct. App. 4 Cir. 6/6/1970)).
45
   See Exhibit 2 (emphasis added).
46
   See Id (emphasis added).
47
   See Exhibit 1.

                                                       11
     Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 12 of 14



existence and non-exhaustion of available primary insurance, the alleged coverage afforded to

Boudreau through the Temporary Substitute Watercraft provision of the AGCS Policy, if any,

would be excess to all other available insurance and not triggered unless and until such coverage

is exhausted.

         Alternatively, should this Court find that the GMIC Policy and the AGCS Policy both

provide excess insurance under their respective Other Insurance Clauses, Louisiana courts “have

found [such competing excess insurance clauses] to be irreconcilable and mutually repugnant

and pro rate the loss between the two insurers.”48

         VII. Again, the Motion is premature, as discovery is required.

         The improper use and premature filing of GEICO’s Motion bears further addressing.

Rule 56(d) of the Federal Rules of Civil Procedure authorizes a court to grant a continuance

when the non-movant has not had an opportunity to conduct discovery that is essential to

his/her/its opposition to a motion for summary judgment.49 Rule 56(d) is an important ingredient

of the federal summary judgment scheme and provides a mechanism for dealing with the

problem of premature summary judgment motions.50 Requests pursuant to Rule 56(d) “are

generally favored and should be liberally granted.”51

         GEICO’s Motion serves as an improper, back-door attempt to prematurely adjudge issues

set forth in AGCS’s Cross-Claim (particularly the other insurance / primary versus excess

arguments as it relates to GEICO’s Cross-Claim), which was only filed into the record thirteen

days ago on September 5, 2018. Further, as noted above, GEICO objected to any discovery on

point and the Court would not allow any such discovery until AGCS’ Cross-Claim was filed into

48
   Yarbrough v. Fed. Land Bank, 31815 (La. App. 2 Cir. 03/31/99); 731 So. 2d 482, 490.
49
   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 n. 5, 91 L. Ed. 2d 202, 106 S. Ct. 2505 (1986).
50
   Celotex v. Catrett, 477 U.S. 317, 326, 91 L. Ed. 2d 265, 106 S. Ct. 2548 (1986).
51
   Beattie v. Madison County School District, 254 F.3d 595, 606 (5th Cir. 2001).

                                                         12
    Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 13 of 14



the record. Now that GMIC has answered the Cross-Claim (as of today, September 18, 2018),

discovery is ripe and can began. For GEICO to prematurely seek to rush its Motion through

knowing that discovery is undisputedly required is wholly improper. As GEICO’s Motion

relates to AGCS’ Cross-Claim, it is also worth noting that the GEICO Policy clearly covers

bareboat charterers, which the charter of the SUPERSTRIKE was per Judge Vance’s recent

ruling, thereby providing full cover for the incident under the GEICO Policy (a motion on point

will be submitted once this issue is fully fleshed out in discovery). Therefore, to the extent the

Motion infringes on this issue and others raised in the AGCS Cross-Claim, the Motion should be

denied.

          Again, even GEICO cannot genuinely contend that discovery is complete on the issues

related to its Motion, as it has requested the corporate deposition of AGCS (which cannot be

argued to purely relate to AGCS’ Cross-Claim, since Magistrate Roby specifically limited such

discovery until after the AGCS Cross-Claim was submitted into the record). Likewise, now that

GEICO has today (September 18, 2018) responded to AGCS’ Cross-Claim, AGCS needs to

conduct written discovery (again, previously objected to by GEICO as premature), notice the

corporate deposition of GMIC, possibly conduct an examination under oath (EUO) and/or

depose / re-depose Boudreau and St. Clair, potentially retain experts, and beyond. Also, since

GMIC failed to follow Louisiana law regarding conflicts of interests between insureds and

insurers (not assigning separate counsel for each), current counsel is required to withdraw,

allowing new counsel for Boudreau to enroll and potentially challenge GMIC’s arguments

limiting Boudreau’s coverage. On this point, for GEICO to argue there is no conflict because

coverage will be provided to Boudreau one way or the other is not only inaccurate (i.e., notice,

exclusions, etc.), but runs afoul of the controlling jurisprudence, applicable rules, etc.



                                                  13
   Case 2:17-cv-01545-BWA-KWR Document 195 Filed 09/18/18 Page 14 of 14



       VIII. Conclusion

       In summary, (1) GEICO has judicially admitted primary coverage; (2) GEICO has

waived any coverage defenses and is in conflict with Boudreau; (3) the AGCS Policy is not

ambiguous; (4) AGCS was not provided with timely notice of the loss; (5) any alleged coverage

to Boudreau under the AGCS Policy is excess; and (6) GEICO’s Motion is premature, as

discovery is required. Accordingly the Motion for Summary Judgment submitted on behalf of

GEICO, including on the alleged behalf of Boudreau, should be denied as a matter of law.

                                    Respectfully submitted,

                                    /s/ Frederick W. Swaim III______________
                                    FREDERICK W. SWAIM III (#28242)
                                    GALLOWAY, JOHNSON, TOMPKINS, BURR & SMITH
                                    701 Poydras Street, 40th Floor
                                    New Orleans, Louisiana 70139
                                    Telephone: (504) 525-6802
                                    Facsimile: (504) 525-2456
                                    fswaim@gallowaylawfirm.com
                                    Counsel for Allianz Global Corporate and Specialty
                                    Marine Insurance Company

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the above and foregoing has been served upon all

known counsel of record via the U.S. District Court’s E-file system on this 18th day of

September, 2018.

                                    /s/ Frederick W. Swaim III______________
                                    FREDERICK W. SWAIM III




                                              14
